                                    Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 1 of 36
                                                                                                                                                                                                       SUM-100
                                                                           SUMMONS
                                                                 (CITA CION JUDICIAL)
                                                                                                                                                                  E FILED
                                                                                                                                                                  1/1   0/2023 4:29           PM
NOTICE To DEFENDANT-
                                                                                                                                                                  Clerk 9f court
(A Vlso  AL DEMANDADO):
J.   CREW GROUP, |_ch                                                                                                                                             Superior Court of CA,
                                                                                                                                                                  County of Santa Clara
You ARE BEING SUED BY PLAINTIFF:                                                                                                                                  23Cy409957_                           .



(Lo ESTA DEMANDANDO EL DEMANDANTE):                                                                                                                               ReVleWGd BY- M- BUI
DANI       CALDERON                 and     EVGUENIA BABAEVA,                  individually    and on behalf        of       all   other persons                  Envelope: 10895526
similarly situated,

NOTICE! You have been sued. The                          court   may    decide against you without your being heard unless you respond within 30 days. Read the information
below.
     You have 3O CALENDAR DAYS                       after this     summons and       legal   papers are served on you               to   file   a written response at this court and have a copy
served on the            plaintiff.   A letter or phone       call wi||   not protect you. Your written response must be                    in   proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can ﬁnd these court forms and more information at the California Courts
Online Self—Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the ﬁling fee, ask the
court clerk for a fee waiver form.  If you do not file your response on time, you may lose the case by default, and your wages, money, and property may

be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonproﬁt legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self—Help Center
(www.courtinfo.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court‘s lien must be paid before the court will dismiss the case.
[AVISOI Lo han demandado. Si no responde dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su versio’n. Lea Ia informacio’n a
continuacién.
             D/AS DE CALENDARIO después de que le entreguen esta citacio’n y papeles legales para presenter una respuesta por escrito en esta
      Tiene 30
con‘e  y hacer que se entregue una copia al demandante. Una carta o una llamada telefo'nica no Io protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de Ia corte y ma’s informacién en el Centro de Ayuda de Ias Con‘es de California (www.sucorte.ca.gov), en Ia
biblioteca de leyes de su condado o en la corte que Ie quede ma's cerca. Si no puede pagar Ia cuota de presentacio’n, pida al secretario de Ia code que
le de' un formulario de exencio’n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia cone Ie podra’
quitar su sueldo, dinero y bienes sin ma’s advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisién a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin ﬁnes de lucro. Puede encontrar estos grupos sin ﬁnes de lucro en el sitio web de California Legal Services,
(www.Iawhelpca/ifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con Ia corte o el
co/egio de abogados locales. AVISO: Por Iey, Ia cone tiene derecho a reclamar Ias cuotas y Ios costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 é ma’s de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho                                                          civil.   Tiene que
pagar el gravamen de                  la   con‘e antes   de que    la   cone pueda desechar el caso.
                                                                                                                                      CASE NUMBER:
The name and address of the court is:                                                                                                 (Namero del Caso):
(El nombre y direccién de Ia corte es): Superior Court                                of the State of California
                                                                                                                                                                 23 CV409 957
County of Santa Clara, 191 North                          First Street,      San Jose, CA 951 13

The name, address, and telephone number of      plaintiff's attorney, or plaintiff without an attorney, is:

(Elnombre, Ia direccién y el nL'Imero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Neal J. Deckant, Bursor & Fisher, P.A., 1990 N. California Blvd., Suite 940, Walnut Creek, CA 94596, Te|.: (925) 300-4455
DATE:                                                                                                     CI   klb                                                                                     ’D          t

(Fecha)             1/10/2023 4:29                       PM               Clerk ofCourt                   (siretayrio)                    M. Bui                                                       (Agggtg)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010)).
                                                         NOTICE TO THE PERSON SERVED: You
 [SEAL]

                                                         1.

                                                         2.
                                                                 E
                                                                 E
                                                                          as an   individual defendant.

                                                                          as the person sued under the          ﬁctitious
                                                                                                                             are served


                                                                                                                                     name         of (specify):


                                                         3.      E        on behalf of (specify):    J.   Crew Group, LLC
                                                                 under:    E
                                                                           E   CCP 416.10
                                                                               CCP 416.20
                                                                                                   (corporation)
                                                                                                   (defunct corporation)
                                                                                                                                                        E
                                                                                                                                                        E   CCP 416.60
                                                                                                                                                            CCP 416.70
                                                                                                                                                                                  (minor)
                                                                                                                                                                                  (conservatee)

                                                                           |:| CCP 416.40                                                               |:| CCP 416.90
          oh?      l-l
                “ﬁxummﬁ:59
                         ’
                           ‘0“
                                                         4.
                                                                           E      other (speCIfy):
                                                                          by personal delivery on
                                                                                                   (association or partnership)


                                                                                                          (date):
                                                                                                                                                                                  (authorized person)



                                                                                                                                                                                                            Page   1   of   1


                                                                                                                                                                           Code
Form Adopted      for   Mandatory Use
     Judicial Council of California
                                                                                                 SUMMONS                                                                                           §§ 412.20, 465
                                                                                                                                                                                  of Civil Procedure

                                                                                                                                                                                                WWWICOllnsﬁalgov
     SUM-1oo   [Rev. July    1,   2009]
For your protection and privacy, please press the Clear
This Form button after you have printed the form.                                             Print this    form                   save      this    form
                                                                                                                         I    I                              I
                                                                                                                                                                  CM-010
                           Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):           2 of 36
                                                                                 FOR COURT USE ONLY
Neal J. Deckant, State Bar No. 322946
Bursor & Fisher, P.A., 1990 N. California Blvd., Suite 940, Walnut Creek, CA 94596

            TELEPHONE NO.:    (925) 300-4455             FAX NO. (Optional): (925) 407-2700
            E-MAIL ADDRESS:   ndeckant@bursor.com                                                            Electronically Filed
     ATTORNEY FOR (Name):     Plaintiffs Dani Calderon and Evguenia Babaeva
                                                                                                             by Superior Court of CA,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
                                                                                                             County of Santa Clara,
 STREET ADDRESS:       191 North First Street
 MAILING ADDRESS:
                                                                                                             on 1/10/2023 4:29 PM
CITY AND ZIP CODE:     San Jose, 95113                                                                       Reviewed By: M. Bui
      BRANCH NAME:     Old Courthouse                                                                        Case #23CV409957
CASE NAME:                                                                                                   Envelope: 10895526
 Dani Calderon, et al. v. J. Crew Group, LLC
        CIVIL CASE COVER SHEET                                   Complex Case Designation                     CASE NUMBER:
                                                                                                                      23CV409957
  ✖      Unlimited                      Limited                  Counter               Joinder
         (Amount                        (Amount
                                                         Filed with first appearance by defendant JUDGE:
         demanded                       demanded is
                                                             (Cal. Rules of Court, rule 3.402)     DEPT.:
         exceeds $25,000)               $25,000 or less)
                                          Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                              Contract                                      Provisionally Complex Civil Litigation
            Auto (22)                                              Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                                Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                 Mass tort (40)
                                                                   Insurance coverage (18)
               Asbestos (04)                                       Other contract (37)                            Securities litigation (28)
               Product liability (24)                                                                            Environmental/Toxic tort (30)
                                                             Real Property
               Medical malpractice (45)                                                                          Insurance coverage claims arising from the
                                                                   Eminent domain/Inverse
              Other PI/PD/WD (23)                                                                                above listed provisionally complex case
                                                                   condemnation (14)
                                                                                                                 types (41)
      Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                  Enforcement of Judgment
               Business tort/unfair business practice (07)        Other real property (26)                       Enforcement of judgment (20)
               Civil rights (08)                             Unlawful Detainer
                                                                                                           Miscellaneous Civil Complaint
               Defamation (13)                                     Commercial (31)
                                                                                                                  RICO (27)
              Fraud (16)                                           Residential (32)
                                                                                                                  Other complaint (not specified above) (42)
               Intellectual property (19)                          Drugs (38)
                                                                                                           Miscellaneous Civil Petition
               Professional negligence (25)                  Judicial Review
                                                                                                                  Partnership and corporate governance (21)
        ✖  Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
      Employment                                                   Petition re: arbitration award (11)            Other petition (not specified above) (43)

               Wrongful termination (36)                           Writ of mandate (02)
               Other employment (15)                               Other judicial review (39)
2.  This case ✖ is                 is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.        Large number of witnesses
   b. ✖ Extensive motion practice raising difficult or novel e.             Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                     court
                                                                  f.        Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ✖ monetary b. ✖ nonmonetary; declaratory or injunctive relief c. ✖ punitive
4. Number of causes of action (specify): Five
5. This case ✖ is                  is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: January 10, 2023
Neal J. Deckant
                              (TYPE OR PRINT NAME)                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                  Page 1 of 2
Form Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
  Judicial Council of California                              CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1, 2021]                                                                                                                              www.courts.ca.gov
                          Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 3 of 36                                                CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
      Asbestos (04)                                    book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your protection and privacy, please press the Clear
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        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 4 of 36

                                                             E-FILED
                                                             1/10/2023 4:29 PM
                                                             Clerk of Court
 1   BURSOR & FISHER, P.A.
     Neal J. Deckant (State Bar No. 322946)                  Superior Court of CA,
 2   1990 North California Blvd., Suite 940                  County of Santa Clara
     Walnut Creek, CA 94596                                  23CV409957
 3   Telephone: (925) 300-4455                               Reviewed By: M. Bui
     Facsimile: (925) 407-2700
 4   Email: ndeckant@bursor.com
 5   BURSOR & FISHER, P.A.
     Matthew A. Girardi (pro hac vice forthcoming)
 6   Julian C. Diamond (pro hac vice forthcoming)
     888 Seventh Ave.
 7   New York, NY 10019
     Telephone: (646) 837-7142
 8   Facsimile: (212) 989-9163
     Email: mgirardi@bursor.com
 9           jdiamond@bursor.com
10   Attorneys for Plaintiff
11
                               THE SUPERIOR COURT OF CALIFORNIA
12
                                     COUNTY OF SANTA CLARA
13

14
     DANI CALDERON and EVGUENIA                      Case No.: 23CV409957
15   BABAEVA, individually and on behalf of all
16   other persons similarly situated,
                                                     CLASS ACTION COMPLAINT
17                                Plaintiffs,

18                  v.                               JURY TRIAL DEMANDED
19
     J. CREW GROUP, LLC,
20
                                 Defendant.
21

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     CLASS ACTION COMPLAINT
        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 5 of 36




 1          Plaintiffs Dani Calderon and Evguenia Babaeva (collectively, “Plaintiffs”) bring this action
 2   individually and on behalf of all others similarly situated against Defendant J. Crew Group, LLC
 3
     (“Defendant” or “J. Crew”). Plaintiffs make the following allegations pursuant to the investigation
 4
     of their counsel and based upon information and belief, except as to the allegations specifically
 5
     pertaining to themselves, which are based on personal knowledge.
 6

 7                                       NATURE OF THE ACTION

 8          1.      Defendant is a retail clothing giant that operates hundreds of retail clothing stores

 9   throughout the United States. Two of Defendant’s largest divisions are J. Crew (“JC”) and J. Crew
10
     Factory (“JCF”). JC and JCF offer clothing of similar styles, with the two main differences being
11
     quality and price. JC clothing is of a higher price and quality (e.g., material, stitching,
12
     construction, etc.) than JCF clothing.
13
            2.      The clothing sold at JC and JCF have similar labeling and logos. For example, on
14

15   clothing tags, JCF clothing is only distinguishable visually from JC by two small dots, as shown in

16   the screenshots below.
17

18

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26          3.      Consumers actively seek out bargains and discounted items when making

27   purchasing decisions. Retailers, including Defendant, are well aware of consumers’ susceptibility

28   to such perceived bargains. Products perceived by consumers to be discounted, however, are not

     CLASS ACTION COMPLAINT                                                                                 1
        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 6 of 36




 1   always actual bargains. In an effort to give off the appearance of a bargain, Defendant
 2   intentionally misleads consumers as to the quality and value of the merchandise available on its
 3
     website and in its retail stores (the “Products”) through its deceptive sales tactics.
 4
            4.      When consumers visit Defendant’s JCF retail locations, or visit the JCF online store
 5
     (which are separate and distinct from those for JC), they are bombarded with purported
 6

 7   “comparable value” prices on all of Defendant’s Products, including on clothing tags, in-store

 8   adverts, and in the online marketing. Every item sold either in-store at a JCF retail location or on

 9   the JCF website has a listed “comparable value” as illustrated in the below examples:
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23   (Photographs taken by Plaintiffs’ Counsel at a JCF retail location in Clinton, Connecticut. Upon
24   information and belief, the “comparable value” pricing utilized by Defendant are uniform
25   representations made at all JCF retail locations nationwide).
26

27

28


     CLASS ACTION COMPLAINT                                                                             2
        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 7 of 36




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24   (Screenshots from the JCF website, https://factory.jcrew.com)

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     CLASS ACTION COMPLAINT                                               3
        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 8 of 36




 1          5.      However, Defendant fails to provide consumers with any information upon which
 2   such “comparable value” prices and savings are based. Upon information and belief, the
 3
     “comparable values” displayed correspond to prices for other, higher quality products at JC, not
 4
     JCF. JCF clothing is never sold at the “comparable value” price listed. Further, the JCF products
 5
     are not comparable to JC clothing because JC clothing is of a higher quality (e.g., material,
 6

 7   stitching, construction, etc.) than JCF clothing.

 8          6.      It is well-established that false reference pricing violates state and federal law.

 9   Nonetheless, Defendant employs inflated, fictitious reference prices for the sole purpose of
10
     increasing its sales. Defendant engages in this deceptive practice to deceive consumers, including
11
     Plaintiffs, into believing they are receiving a bargain on their purchases to induce them into making
12
     purchases they otherwise would not have made.
13
            7.      As a direct and proximate result of Defendant’s false and misleading sales practices,
14

15   Plaintiffs and members of the Class, as defined herein, were induced into purchasing the Products

16   under the false premise that they were of a higher grade, quality, or value than they actually were.
17          8.      Plaintiffs seek relief in this action individually, and on behalf of all purchasers of
18
     the Products for violations of the California Consumer Legal Remedies Act (“CLRA”), Civil Code
19
     §§ 1750, et seq., Unfair Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et seq., False
20
     Advertising Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq., fraud, and unjust enrichment.
21

22   Through this action, Plaintiffs seek to enjoin Defendant from its false and deceptive sales practices,

23   and seek to obtain actual and statutory damages, restitution, injunctive relief, and reasonable

24   attorneys’ costs and fees.
25

26

27

28


     CLASS ACTION COMPLAINT                                                                                  4
        Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 9 of 36




 1                                     JURISDICTION AND VENUE
 2            9.    This Court has jurisdiction over this action pursuant to Cal. Code Civ. Proc. §
 3
     410.10 and Cal. Bus. & Prof. Code §§ 17203-17204, 17604. This action is brought as a class
 4
     action on behalf of Plaintiffs and Class members pursuant to Cal. Code Civ. Proc. § 382.
 5
              10.   This Court has personal jurisdiction over Defendant because events giving rise to
 6

 7   the cause of action occurred as a result of Defendant’s purposely directed contacts with California.

 8   Defendant purposely sold the Products that gave rise to the cause of action in California.

 9   Defendant’s misrepresentations about the Products were purposely directed to the State of
10
     California, and Plaintiffs viewed and relied upon these representations in this state. Further,
11
     Defendant conducts and transacts business in this state and contracts to supply goods within this
12
     state.
13
              11.   Venue is proper in this Court pursuant to Cal. Code Civ. Proc. §§ 395 and 395.5
14

15   because Plaintiff Babaeva resides in this County and both Plaintiffs reside in this state, and a

16   substantial portion of the events giving rise to the cause of action occurred in this state. Plaintiff
17   Babaeva purchased the Products and suffered her primary injury in this district.
18
                                                   PARTIES
19
              12.   Plaintiff Dani Calderon, is an individual consumer who, at all times material hereto,
20
     was a citizen and resident of Castro Valley, California.
21

22            13.   Ms. Calderon made multiple clothing purchases from Defendant’s retail locations

23   (collectively, the “Products”). Before purchasing the Products, Ms. Calderon reviewed information

24   about the Products, including Defendant’s uniform representations that the Products were being
25   offered at a discounted “sale” price relative to a false “comparable value” price that was higher
26
     than the advertised “sale” price for each of the Products. When purchasing the Products, Ms.
27
     Calderon also reviewed the accompanying labels, disclosures, warranties, and marketing materials,
28


     CLASS ACTION COMPLAINT                                                                                   5
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 1   and understood them as representations and warranties by Defendant that the Products were
 2   ordinarily offered at a higher price and that the Products had a legitimate “comparable value” that
 3
     was higher than the sale price.
 4
            14.     Ms. Calderon relied on Defendant’s false, misleading, and deceptive representations
 5
     and warranties about the Products in making her decision to purchase the Products. Accordingly,
 6

 7   these representations and warranties were part of the basis of the bargain, in that she would not

 8   have purchased the Products, or would not have paid as much for the Products, had she known

 9   Defendant’s representations were not true. Defendant’s representations about its Products are false
10
     and misleading because they induce consumers into believing that they are purchasing Products of
11
     a higher value and quality than they actually are.
12
            15.     Had Ms. Calderon known the truth—that the representations she relied upon in
13
     making her purchase were false, misleading, and deceptive—she would not have purchased the
14

15   Products or would have paid less for the Products. Ms. Calderon did not receive the benefit of her

16   bargain because Defendant’s Products were not of the represented quality and value. Ms. Calderon
17   understood that each purchase involved a direct transaction between herself and Defendant because
18
     the Products she purchased came with packaging, labeling, and other materials prepared by
19
     Defendant, including representations and warranties regarding the advertised claims.
20
            16.     Plaintiff Evguenia Babaeva is an individual consumer who, at all times material
21

22   hereto, was a citizen and resident of San Jose, California.

23          17.     Ms. Babaeva made multiple clothing purchases from Defendant’s online store

24   (collectively, the “Products”). Before purchasing the Products, Ms. Babaeva reviewed information
25   about the Products, including Defendant’s uniform representations that the Products were being
26
     offered at a discounted “sale” price relative to a false “comparable value” price that was higher
27
     than the advertised “sale” price for each of the Products. When purchasing the Products, Ms.
28


     CLASS ACTION COMPLAINT                                                                              6
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 1   Babaeva also reviewed the accompanying labels, disclosures, warranties, and marketing materials,
 2   and understood them as representation and warranties by Defendant that the Products were
 3
     ordinarily offered at a higher price and that the Products had a legitimate “comparable value” that
 4
     was higher than the sale price.
 5
            18.     Ms. Babaeva relied on Defendant’s false, misleading, and deceptive representations
 6

 7   and warranties about the Products in making her decision to purchase the Products. Accordingly,

 8   these representations and warranties were part of the basis of the bargain, in that she would not

 9   have purchased the Products, or would not have paid as much for the Products, had she known
10
     Defendant’s representations were not true. Defendant’s representations about its Products are false
11
     and misleading because they induce consumers into believing that they are purchasing Products of
12
     a higher value and quality than they actually are.
13
            19.     Had Ms. Babaeva known the truth—that the representations she relied upon in
14

15   making her purchase were false, misleading, and deceptive—she would not have purchased the

16   Products or would have paid less for the Products. Ms. Babaeva did not receive the benefit of her
17   bargain, because Defendant’s Products were not of the represented quality and value. Ms. Babaeva
18
     understood that each purchase involved a direct transaction between herself and Defendant,
19
     because the Products she purchased came with packaging, labeling, and other materials prepared
20
     by Defendant, including representations and warranties regarding the advertised claims.
21

22          20.     Defendant, J. Crew Group, LLC, is a corporation with its principal place of business

23   in New York, New York. Defendant manufactures, markets, and advertises and distributes its

24   Products under the JCF brand throughout the United States, including California. Defendant
25   manufactured, marketed, and sold the Products during the relevant Class Period. The planning and
26
     execution of the advertising, marketing, labeling, packaging, testing, and/or business operations
27
     concerning the Products were primarily or exclusively carried out by Defendant.
28


     CLASS ACTION COMPLAINT                                                                              7
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 1                                       FACTUAL BACKGROUND
 2          21.     Defendant manufactures, markets, sells, and distributes its clothing under the JCF
 3
     brand throughout the United States, including California, both through retail locations and its
 4
     online e-commerce store.
 5

 6   State And Federal Pricing Guidelines
 7          22.     California law provides clear guidelines as to permissible and unlawful sales tactics:
 8                  For the purpose of this article the worth or value of any thing
 9                  advertised is the prevailing market price, wholesale if the offer is at
                    wholesale, retail if the offer is at retail, at the time of publication of
10                  such advertisement in the locality wherein the advertisement is
                    published.
11
                    No price shall be advertised as a former price of any advertised thing,
12                  unless the alleged former price was the prevailing market price as
13                  above defined within three months next immediately preceding the
                    publication of the advertisement or unless the date when the alleged
14                  former price did prevail is clearly, exactly and conspicuously stated
                    in the advertisement.
15
     Bus. & Prof. Code § 17501.
16

17          23.     Additionally, California law expressly prohibits making false or misleading

18   statements of fact “concerning reasons for, existence of, or amounts of price reductions.” See Cal.

19   Civ. Code § 1770(a)(13).
20
            24.     The Federal Trade Commission (“FTC”) provides retailers with additional guidance
21
     as to permissible and unlawful sales tactics. See 16 CFR § 233.
22

23          25.     The FTC provides the following guidance on former price comparisons:

24                  One of the most commonly used forms of bargain advertising is to
                    offer a reduction from the advertiser's own former price for an article.
25                  If the former price is the actual, bona fide price at which the article
26                  was offered to the public on a regular basis for a reasonably
                    substantial period of time, it provides a legitimate basis for the
27                  advertising of a price comparison. Where the former price is genuine,
                    the bargain being advertised is a true one. If, on the other hand, the
28                  former price being advertised is not bona fide but fictitious - for

     CLASS ACTION COMPLAINT                                                                              8
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 1                  example, where an artificial, inflated price was established for
                    the purpose of enabling the subsequent offer of a large reduction
 2                  - the “bargain” being advertised is a false one; the purchaser is
 3                  not receiving the unusual value he expects. In such a case, the
                    “reduced” price is, in reality, probably just the seller's regular
 4                  price.

 5   16 CFR § 233.1(a) (emphasis added).
 6
            26.     The FTC further provides that “[t]he advertiser should be especially careful […] that
 7
     the price is one at which the product was openly and actively offered for sale, for a reasonably
 8
     substantial period of time, in the recent, regular course of his business, honestly and in good faith
 9
     - and, of course, not for the purpose of establishing a fictitious higher price on which a
10

11   deceptive comparison might be based.” 16 CFR § 233.1(b) (emphasis added).

12
            27.     The FTC also provides retailers with guidance as to retail price comparison:
13
                    Another commonly used form of bargain advertising is to offer goods
14                  at prices lower than those being charged by others for the same
                    merchandise in the advertiser's trade area (the area in which he does
15                  business). This may be done either on a temporary or a permanent
16                  basis, but in either case the advertised higher price must be based
                    upon fact, and not be fictitious or misleading. Whenever an
17                  advertiser represents that he is selling below the prices being charged
                    in his area for a particular article, he should be reasonably certain
18                  that the higher price he advertises does not appreciably exceed the
                    price at which substantial sales of the article are being made in the
19
                    area - that is, a sufficient number of sales so that a consumer would
20                  consider a reduction from the price to represent a genuine bargain or
                    saving.
21
     16 CFR § 233.2(a) (emphasis added).
22
            28.     Federal regulations further provide:
23

24                  A closely related form of bargain advertising is to offer a reduction
                    from the prices being charged either by the advertiser or by others in
25                  the advertiser’s trade area for merchandise of like grade and quality
                    – in other words, comparable or competing merchandise – to that
26                  being advertised. Such advertising can serve a useful and legitimate
                    purpose when it is made clear to the consumer that a comparison is
27
                    being made with other merchandise and the other merchandise is, in
28                  fact, of essentially similar quality and obtainable in the area.


     CLASS ACTION COMPLAINT                                                                             9
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 1
     16 CFR § 233.2(c) (emphasis added).
 2

 3          29.      Essentially, federal and state law provides that sales practices should be offered in

 4   good-faith and accurately reflect the price at which comparable products are sold in the market.

 5   Defendant’s Deceptive Sales Practices
 6
            30.      Defendant sells its JCF Products both at brick-and-mortar retail locations and on its
 7
     online store.
 8
            31.      In an effort to increase sales, Defendant engages in a pervasive online marketing
 9
     scheme to artificially inflate the prices of its Products for the sole purpose of marking them at a
10

11   discounted “sale” price relative to a “comparable value” price. Defendant is aware that consumers

12   typically lack material information about a product and often rely on information from sellers when
13   making purchasing decisions, especially when a products’ quality or value is difficult to discern.1
14
            32.      Defendant has multiple methods of deceiving consumers into believing that they are
15
     receiving a bargain on the items they purchase.
16
            33.      First, Defendant utilizes a fictitious “comparable value” reference price. The
17

18   Products are never sold at this “comparable value” price. Defendant further fails to provide

19   consumers with any information upon which such prices are based. While such prices may, upon

20   information and belief, be based upon products sold at its JC stores, such a comparison would still
21   be deceptive because Defendant’s JC items are of a much higher quality than JCF items. This
22
     practice accompanies every JCF product sold, both in-store and online.
23

24

25

26   1
       Information and Consumer Behavior, Phillip Nelson, Journal of Political Economy 78, no. 2, p.
27   311-312 (1970) (“Not only do consumers lack full information about the price of goods, but their
     information is probably even poorer about the quality variation of products simply because the
28   latter information is more difficult to obtain.”).


     CLASS ACTION COMPLAINT                                                                                  10
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14   (Photographs taken by Plaintiffs’ Counsel at a JCF retail location in Clinton, Connecticut).

15          34.     On the JCF website, this false reference price is struck-through and accompanied

16   by a purported “sav[ings]” percentage. Above this fictitious reference price is a lower purported
17   “sale” price. This practice accompanies every JCF product sold online.
18

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     CLASS ACTION COMPLAINT                                                                              11
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     (Screenshots from the JCF website, https://factory.jcrew.com)
14
            35.     The “Comparable value” reference price listed by Defendant is a purely fictitious
15
     price not based on comparable sales offerings in the market. Instead, this fictitious price is merely
16
     offered for the purpose of deceiving consumers into believing they are receiving a bargain for their
17

18   purchases, which may be based on higher-quality JC items, not JCF items.

19          36.     In short, Defendant’s sales tactics are not offered in good faith and are made for the
20   sole purpose of deceiving and inducing consumers into purchasing products they otherwise would
21
     not have purchased.
22
     Plaintiffs’ Purchase History
23
            37.     Plaintiff Calderon made multiple purchases from Defendant’s Livermore, California
24

25   JCF retail location, including jeans, shirts, and shorts. Plaintiff Calderon’s most recent purchase

26   was in June 2022.

27

28


     CLASS ACTION COMPLAINT                                                                                12
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 1          38.     Plaintiff Babaeva made multiple purchases from both Defendant’s San Jose,
 2   California JCF retail location and from the JCF online store, including pants, shirts, cardigans, top,
 3
     blazers and tank tops.
 4
            39.     Two of Plaintiff Babaeva’s purchased items from the JCF website can still be found
 5
     on the website, and each item still lists a fictitious “compare” price over six months later:2
 6

 7

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27   2
      Results from searching item reference numbers and comparing with purchase receipt. Colors and
28   names of items may or may not match.


     CLASS ACTION COMPLAINT                                                                              13
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 1          40.     Although the pricing may fluctuate from time to time, Defendant’s Products have
 2   uniformly never been offered at the fictitious “comparable value” prices that Defendant lists,
 3
     including within the last 90 days. Such findings were confirmed for the two above items through
 4
     the use of a sophisticated price-tracking software, as well as for numerous items on the JCF
 5
     website randomly selected by Plaintiffs’ counsel.
 6

 7          41.     Moreover, such a comparison price does not reflect those prices being charged by

 8   others for merchandise of a similar quality in the Defendant’s trade area.

 9          42.     In reality, the “compare” price are entirely fabricated by Defendant to give off the
10
     appearance of a bargain. Defendant intentionally misled Plaintiffs, as well as other consumers, into
11
     believing that its JCF products are worth and are ordinarily offered at a higher price, and are of a
12
     “comparable value” to its JC products, which they are not.
13
            43.     Plaintiffs reasonably relied on Defendant’s representations that its JCF products are
14

15   worth and are ordinarily offered at a higher price, and are of a “comparable value” to higher value

16   products, which they are not. If Plaintiffs had known the truth—i.e. that the Products were not
17   being offered at discounted prices relative to a “comparable value,” but rather, at the prices at
18
     which they were worth and typically offered, they would have not purchased the Products.
19
            44.     Defendant further represents a purported “% off” amount consumers purchasing
20
     JCF products online. However, upon information and belief, none of Defendant’s items, including
21

22   the items purchased by Plaintiff Babaeva, have ever been sold at the reference “comparable value”

23   price upon which the purported “% off” is based, including within the last 90 days. Such findings

24   were confirmed for Plaintiffs’ purchased Products where such products were locatable on the JCF
25   website through the use of a sophisticated price-tracking software, as well as for numerous items
26
     on the JCF website randomly selected by Plaintiffs’ counsel.
27

28


     CLASS ACTION COMPLAINT                                                                                 14
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 1             45.    Plaintiff Babaeva reasonably relied on Defendant’s representation that she was
 2   receiving a “% off” on her purchased Products. If Plaintiff Babaeva had known the truth—i.e., that
 3
     the Product was not being offered at a discounted “% off” price, but rather, at the price at which it
 4
     is typically offered, she would not have purchased the Products from the JCF website.
 5
               46.    Defendant’s advertised false reference prices and advertised false discounts were
 6

 7   material misrepresentations and inducements to Plaintiffs’ purchases.

 8             47.    Plaintiffs were harmed as a direct and proximate result of Defendant’s acts and

 9   omissions.
10
               48.    Defendant commits the same unfair and deceptive sales practices for all of its
11
     Products as described above.
12
               49.    Plaintiffs and members of the Class are not receiving the bargain or value that
13
     Defendant has misled them to believe.
14

15                                          CLASS ALLEGATIONS

16             50.    Plaintiffs bring this matter on behalf of themselves and those similarly situated. As
17   detailed at length in this Complaint, Defendant orchestrated deceptive sales practices. Defendant’s
18
     customers were uniformly impacted by and exposed to this misconduct. Accordingly, this
19
     Complaint is uniquely situated for class-wide resolution, including injunctive relief.
20
               51.    The Class is defined as all consumers who purchased the Products during the
21

22   applicable statute of limitations period (the “Class Period) in the United States (the “Class”).

23             52.    Plaintiffs also seek to represent a subclass defined as all class members who

24   purchased the Products in California (the “California Subclass”).3
25

26

27
     3
28       The Class and California Subclass are hereinafter collectively referred to as the “Classes.”


     CLASS ACTION COMPLAINT                                                                               15
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 1          53.     Plaintiffs reserve the right to expand, limit, modify, or amend the class definitions,
 2   including the addition of one or more subclasses, in connection with their motion for class
 3
     certification, or at any other time, based on, inter alia, changing circumstances and new facts
 4
     obtained.
 5
            54.     The Classes are properly brought and should be maintained as a class action under
 6

 7   Cal. Code Civ. Proc. § 382, satisfying the class action prerequisites of numerosity, commonality,

 8   typicality, and adequacy because:

 9          55.     Numerosity: Class Members are so numerous that joinder of all members is
10
     impracticable. Plaintiffs believe that there are thousands of consumers who are Class Members
11
     described above who have been damaged by Defendant’s deceptive and misleading practices.
12
            56.     Commonality: The questions of law and fact common to the Class Members which
13
     predominate over any questions which may affect individual Class Members include, but are not
14

15   limited to:

16                  (a)     Whether Defendant is responsible for the conduct alleged herein, which was
17                          uniformly directed at all consumers who purchased the Products;
18
                    (b)     Whether Defendant’s misconduct set forth in this Complaint demonstrates
19
                            that Defendant engaged in unfair, fraudulent, or unlawful business practices
20
                            with respect to the advertising, marketing, and sale of the Products;
21

22                  (c)     Whether Defendant made false and/or misleading statements concerning the

23                          Products that were likely to deceive a reasonable consumer and/or the

24                          public;
25                  (d)     Whether Plaintiffs and the Class and Subclass are entitled to injunctive
26
                            relief;
27

28


     CLASS ACTION COMPLAINT                                                                              16
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 1                  (e)     Whether Plaintiffs and the Class and Subclass are entitled to money damages
 2                          under the same causes of action as the other Class Members.
 3
            57.     Typicality: Plaintiffs are members of the Classes they seek to represent. Plaintiffs’
 4
     claims are typical of the claims of each Class Member in that every member of the Class was
 5
     susceptible to the same deceptive, misleading conduct and purchased Defendant’s Products.
 6

 7   Plaintiffs are entitled to relief under the same causes of action as the other Class Members.

 8          58.     Adequacy: Plaintiffs are adequate Class representatives because their interests do

 9   not conflict with the interests of the Class members they seek to represent; their consumer fraud
10
     claims are common to all other members of the Classes and they have a strong interest in
11
     vindicating their rights; they have retained counsel competent and experienced in complex class
12
     action litigation and they intend to vigorously prosecute this action. Plaintiffs have no interests
13
     which conflicts with those of the Classes. The Class Members’ interests will be fairly and
14

15   adequately protected by Plaintiffs and their counsel. Defendant has acted in a manner generally

16   applicable to the Classes, making relief appropriate with respect to Plaintiffs and the Class
17   Members. The prosecution of separate actions by individual Class Members would create a risk of
18
     inconsistent and varying adjudications.
19
            59.     Further, a class action is superior to any other available method for the fair and
20
     efficient adjudication of this controversy since individual joinder of all Class Members is
21

22   impracticable. Additionally, the expense and burden of individual litigation would make it difficult

23   or impossible for the individual Class Members to redress the wrongs done to them, especially

24   given the costs and risks of litigation as compared to the benefits that may be attained. Even if the
25   Class Members could afford individualized litigation, the cost to the court system would be
26
     substantial and individual actions would also present the potential for inconsistent or contradictory
27

28


     CLASS ACTION COMPLAINT                                                                                17
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 1   judgments. By contrast, a class action presents fewer management difficulties and provides the
 2   benefit of single adjudication and comprehensive supervision by a single forum.
 3
             60.     Finally, Defendant has acted or refused to act on grounds generally applicable to the
 4
     entire Class, thereby making it appropriate for this Court to grant final injunctive relief and
 5
     declaratory relief with respect to the Class as a whole.
 6

 7                                                COUNT I
                                  Violation of Consumer Legal Remedies Act
 8                                   (“CLRA”) Civil Code §§ 1750, et seq.

 9           61.     Plaintiffs and Class Members reallege and incorporate by reference each allegation
10
     set forth above as if fully set forth herein.
11
             62.     Plaintiffs bring this claim individually and on behalf of members of the California
12
     Subclass against Defendant.
13
             63.     This cause of action is brought pursuant to California’s Consumers Legal Remedies
14

15   Act, Cal. Civ. Code §§ 1750-1785 (the “CLRA”).

16           64.     Plaintiffs and members of the California Subclass are consumers who purchased
17   Defendant’s Products for personal, family, or household purposes. Accordingly, Plaintiffs and
18
     members of the California Subclass are “consumers,” as the term is defined by Cal. Civ. Code §
19
     1761(d).
20
             65.     At all relevant times, Defendant’s Products constituted “goods,” as that term is
21

22   defined in Cal. Civ. Code § 1761 (a).

23           66.     At all relevant times, Defendant was a “person,” as that term is defined in Cal. Civ.

24   Code § 1761(c).
25           67.     At all relevant times, Plaintiffs’ purchases of Defendant’s Products, and the
26
     purchases of other California Subclass members, constituted “transactions,” as that term is defined
27
     in Cal. Civ. Code § 1761 (e).
28


     CLASS ACTION COMPLAINT                                                                                18
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 1            68.    The conduct alleged in this Complaint constitutes unfair methods of competition
 2   and unfair and deceptive acts and practices for the purposes of the CLRA, and the conduct was
 3
     undertaken by Defendant in transactions intended to result in, and which did result in, the sale of
 4
     goods to consumers.
 5
              69.    The policies, acts, and practices described in this Complaint were intended to and
 6

 7   did result in the sale of Defendant’s Products to Plaintiffs and the California Subclass. Defendant’s

 8   practices, acts, policies, and course of conduct violated the CLRA § 1750 et seq., as described

 9   above.
10
              70.    Defendant advertised goods or services with the intent not to sell them as advertised
11
     in violation of California Civil Code § 1770(a)(9).
12
              71.    Defendant made false or misleading statements of fact concerning reasons for,
13
     existence of, or amounts of price reductions, in violation of California Civil Code § 1770(a)(13).
14

15            72.    Defendant violated California Civil Code §§ 1770(a)(9) and (a)(13) by representing

16   that its JCF Products are worth and are ordinarily offered at higher fictitious “comparable value”
17   prices, are of a “comparable value” to its JC products (which they are not), and/or that they are
18
     offered at fictitious “% off” sale prices.
19
              73.    Plaintiffs and members of the California Subclass suffered injuries caused by
20
     Defendant’s misrepresentations because (a) Plaintiffs and members of the California Subclass
21

22   would not have purchased the Products on the same terms if they had known the true facts; (b)

23   Plaintiffs and members of the California Subclass paid a price premium due to the mislabeling of

24   Defendant’s Products; and (c) Defendant’s Products did not have the level of quality or value as
25   promised.
26
              74.    Prior to the filing of this Complaint, CLRA notice letters on behalf of each Plaintiff
27
     were served on Defendant. The notice letters comply in all respects with California Civil Code §
28


     CLASS ACTION COMPLAINT                                                                                19
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 1   1782(a). On October 31, 2022, Plaintiff Calderon sent Defendant a letter via certified mail, return
 2   receipt requested, advising Defendant that they are in violation of the CLRA and must correct,
 3
     repair, replace or otherwise rectify the goods alleged to be in violation § 1770. Plaintiff Babaeva
 4
     sent a letter advising Defendant of same on November 21, 2022. Wherefore, Plaintiffs seek
 5
     damages, restitution, and injunctive relief for this violation of the CLRA.
 6

 7                                             COUNT II
                                   Violation of False Advertising Law
 8                         (“FAL”) Business & Professions Code §§ 17500, et seq.

 9           75.     Plaintiffs and Class Members reallege and incorporate by reference each allegation
10
     set forth above as if fully set forth herein.
11
             76.     Plaintiffs bring this claim individually and on behalf of the members of the
12
     California Subclass against Defendant.
13
             77.     California’s FAL, (Bus. & Prof. Code §§ 17500, et seq.) makes it “unlawful for any
14

15   person to make or disseminate or cause to be made or disseminated before the public in this

16   state,…in any advertising device…or in any other manner or means whatever, including over the
17   Internet, any statement, concerning…personal property or services, professional or otherwise, or
18
     performance or disposition thereof, which is untrue or misleading and which is known, or which by
19
     the exercise of reasonable care should be known, to be untrue or misleading.”
20
             78.     California’s FAL further provides that “no price shall be advertised as a former
21

22   price of any advertised thing, unless the alleged former price was the prevailing market

23   price…within three months next immediately preceding the publication of the advertisement or

24   unless the date when the alleged former price did prevail is clearly, exactly, and conspicuously
25   stated in the advertisement.” See Cal. Bus. & Prof. Code § 17501.
26
             79.     Defendant violated California’s FAL by representing that its JCF Products are worth
27
     and are ordinarily offered at a higher fictitious “comparable value” price, are of a “comparable
28


     CLASS ACTION COMPLAINT                                                                                20
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 1   value” to its JC products (which they are not), and/or that they are offered at a fictitious “% off”
 2   sale price. Such advertised strikethrough, “% off,” and “comparable value” prices never reflected
 3
     the prevailing market price of those Products and were materially greater than the true prevailing
 4
     prices. Such a deceptive marketing practice misled consumers by creating a false impression that
 5
     the Products were of a higher value and worth more than their actual worth.
 6

 7           80.     Defendant’s actions in violation of § 17500 were false and misleading such that the

 8   general public was likely to be deceived.

 9           81.     As a direct and proximate result of these acts, consumers have been and are being
10
     harmed. Plaintiffs and members of the California Subclass have suffered injury and actual out-of-
11
     pocket losses because: (a) Plaintiffs and members of the California Subclass would not have
12
     purchased the Products if they had known the true facts regarding the value and prevailing market
13
     price of the Products; (b) Plaintiffs and members of the California Subclass paid a price premium
14

15   due to the misrepresentations about the Products; and (c) the Products did not have the promised

16   quality or value.
17           82.     Plaintiffs bring this action pursuant to § 17535 for injunctive relief to enjoin the
18
     practices described herein and to require Defendant to issue corrective and disclosures to
19
     consumers. Plaintiffs and members of the California Subclass are therefore entitled to: (a) an order
20
     requiring Defendant to cease the acts of unfair competition alleged herein; (b) full restitution of all
21

22   monies paid to Defendant as a result of its deceptive practices; (c) interest at the highest rate

23   allowable by law; and (d) the payment of Plaintiffs’ attorneys’ fees and costs.

24                                               COUNT III
                                    Violation of Unfair Competition Law
25                              Business & Professions Code §§ 17200, et seq.
26
             83.     Plaintiffs and Class Members reallege and incorporate by reference each allegation
27
     set forth above as if fully set forth herein.
28


     CLASS ACTION COMPLAINT                                                                                 21
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 1          84.     Plaintiffs bring this claim individually and on behalf of the members of the
 2   California Subclass against Defendant.
 3
            85.     Defendant is subject to the UCL, Bus. & Prof. Code § 17200 et seq. The UCL
 4
     provides, in pertinent part: “Unfair competition shall mean and include unlawful, unfair or
 5
     fraudulent business practices and unfair, deceptive, untrue or misleading advertising....” The UCL
 6

 7   also provides for injunctive relief and restitution for violations.

 8          86.     “By proscribing any unlawful business practice, § 17200 borrows violations of other

 9   laws and treats them as unlawful practices that the UCL makes independently actionable.” Cel-
10
     Tech Communications, Inc. v. Los Angeles Cellular Telephone Co., 20 Cal. 4th 163, 180 (1999)
11
     (citations and internal quotation marks omitted).
12
            87.     Virtually any law or regulation—federal or state, statutory, or common law—can
13
     serve as a predicate for a UCL “unlawful” violation. Klein v. Chevron U.S.A., Inc., 202 Cal. App.
14

15   4th 1342, 1383 (2012).

16          88.     Defendant has violated the UCL’s “unlawful prong” as a result of its violations of
17   the CLRA, FAL, and federal regulations as described herein.
18
            89.     Throughout the Class Period, Defendant committed acts of unfair competition, as
19
     defined by § 17200, by representing that its JCF Products are worth and are ordinarily offered at a
20
     higher fictitious “comparable value” price, are of a “comparable value” to its JC products (which
21

22   they are not), and/or that they are offered at a fictitious “% off” sale price. Such advertised

23   strikethrough, “% off,” and “compare” prices never reflected the prevailing market price of those

24   Products and were materially greater than the true prevailing prices. Such a deceptive marketing
25   practice misled consumers by creating a false impression that the Products were of a higher value
26
     and worth more than their actual worth.
27

28


     CLASS ACTION COMPLAINT                                                                              22
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 27 of 36




 1          90.       As detailed above, the CLRA prohibits a business from “[a]dvertising goods or
 2   services with intent to not sell them as advertised.” Cal. Civ. Code § 1770(a)(9).
 3
            91.       Further, the CLRA prohibits a business from “[m]aking false or misleading
 4
     statements of fact concerning reasons for, existence of, or amounts of price reductions.” Cal. Civ.
 5
     Code § 1770(a)(13).
 6

 7          92.       California law also expressly prohibits false reference price schemes. Specifically,

 8   the FAL provides:

 9                    For the purpose of this article the worth or value of any thing
                      advertised is the prevailing market price, wholesale if the offer is at
10
                      wholesale, retail if the offer is at retail, at the time of publication of
11                    such advertisement in the locality wherein the advertisement is
                      published.
12
     Bus. & Prof. Code § 17501.
13
                  93. Federal regulations also provide:
14

15                    A closely related form of bargain advertising is to offer a reduction
                      from the prices being charged either by the advertiser or by others in
16                    the advertiser’s trade area for merchandise of like grade and
                      quality – in other words, comparable or competing merchandise
17                    – to that being advertised. Such advertising can serve a useful and
18                    legitimate purpose when it is made clear to the consumer that a
                      comparison is being made with other merchandise and the other
19                    merchandise is, in fact, of essentially similar quality and
                      obtainable in the area.
20
     16 CFR § 233.2(c) (emphasis added).
21

22          94.       As described herein, the alleged acts and practices resulted in violations of federal

23   and state law.

24          95.       Defendant’s misrepresentations and other conduct, described herein, violated the
25   “unfair prong” of the UCL because the conduct is substantially injuries to consumers, offends
26
     public policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the
27
     conduct outweighs any alleged benefits. Defendant’s conduct is unfair in that the harm to Plaintiffs
28


     CLASS ACTION COMPLAINT                                                                                   23
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 28 of 36




 1   and members of the California Subclass arising from Defendant’s conduct outweighs the utility, if
 2   any, of those practices.
 3
            96.       Defendant’s practices as described herein are of no benefit to consumers, who are
 4
     tricked into believing that the Products are of a higher grade, quality, worth, and/or value than they
 5
     actually are. Defendant’s practice of injecting misinformation into the marketplace about the value
 6

 7   of its Products is unethical and unscrupulous, especially because consumers trust companies like

 8   Defendant to provide accurate information about their Products. Taking advantage of that trust,

 9   Defendant misrepresents the value of its Products to increase its sales. Consumers reasonably
10
     believe that Defendant is an authority on the value of clothing and therefore reasonably believe
11
     Defendant’s representations that its Products are of a higher grade, quality, worth, and/or value
12
     than they actually are.
13
            97.       Defendant’s conduct described herein violated the “fraudulent” prong of the UCL
14

15   by representing that the Products were of a higher grade, quality, worth, and/or value, when in fact

16   they were not.
17          98.       Plaintiffs and members of the California Subclass are not sophisticated experts with
18
     independent knowledge of the value of clothing, and they acted reasonably when they purchased
19
     the Products based on their belief that Defendant’s representations were true.
20
            99.       Defendant knew or should have known, through the exercise of reasonable care, that
21

22   its representations about the Products were untrue and misleading.

23          100.      As a direct and proximate result of these acts, consumers have been and are being

24   harmed. Plaintiffs and members of the California Subclass are entitled to preliminary and
25   injunctive relief, as well as disgorgement and restitution of all revenues wrongfully obtained as a
26
     result of Defendant’s unfair competition, or such portion of those revenues as the Court may find
27
     equitable.
28


     CLASS ACTION COMPLAINT                                                                                24
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 29 of 36




 1                                                   COUNT IV
                                                       Fraud
 2

 3           101.    Plaintiffs and Class Members reallege and incorporate by reference each allegation

 4   set forth above as if fully set forth herein.

 5           102.    Plaintiffs bring this claim individually and on behalf of the members of the Class
 6
     and California Subclass against Defendant.
 7
             103.    As discussed above, Defendant failed to disclose material facts about its sales
 8
     practices, including that its “sale” prices were the normal prices at which the Products were
 9
     typically sold, that its “comparable value,” “% off,” and strikethrough prices were fictitious, and
10

11   that these deceptive sales practices operated solely for the purpose of inducing consumers to make

12   purchases they otherwise would not have made.
13           104.    These omissions made by Defendant, as described above, upon which Plaintiffs and
14
     members of the Class and California Subclass reasonably and justifiably relied, were intended to
15
     and actually did induce Plaintiffs and members of the Class and California Subclass to purchase the
16
     Products.
17

18           105.    The fraudulent actions of Defendant caused damage to Plaintiffs and members of

19   the Class and California Subclass, who are entitled to damages and other legal and equitable relief

20   as a result.
21                                                 COUNT V
22                                     Unjust Enrichment or Restitution
                                              (In the Alternative)
23
             106.    Plaintiffs and Class Members reallege and incorporate by reference each allegation
24
     set forth above as if fully set forth herein.
25

26           107.    Plaintiffs bring this claim individually and on behalf of the members of the Class

27   and California Subclass against Defendant.

28


     CLASS ACTION COMPLAINT                                                                                25
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 30 of 36




 1          108.    “Although there are numerous permutations of the elements of the unjust
 2   enrichment cause of action in the various states, there are few real differences. In all states, the
 3
     focus of an unjust enrichment claim is whether the defendant was unjustly enriched. At the core of
 4
     each state’s law are two fundamental elements – the defendant received a benefit from the plaintiff
 5
     and it would be inequitable for the defendant to retain that benefit without compensating the
 6

 7   plaintiff. The focus of the inquiry is the same in each state.” In re Mercedes-Benz Tele Aid

 8   Contract Litig., 257 F.R.D. 46, 58 (D.N.J. Apr. 24, 2009), quoting Powers v. Lycoming Engines,

 9   245 F.R.D. 226, 231 (E.D. Pa. 2007).
10
            109.    Plaintiffs and members of the Class and California Subclass conferred a benefit on
11
     Defendant by purchasing the Products and by paying a price premium for them.
12
            110.    Defendant has knowledge of such benefits.
13
            111.    Defendant has been unjustly enriched in retaining the revenues derived from Class
14

15   members’ purchases of the Products, which retention under these circumstances is unjust and

16   inequitable because it misrepresents that its JCF Products are worth and are ordinarily offered at a
17   higher fictitious “comparable value” price, are of a “comparable value” to its JC products (which
18
     they are not), and/or that they are offered at a fictitious “% off” sale price. Such advertised
19
     strikethrough, “% off,” and “compare” prices never reflected the prevailing market price of those
20
     Products and were materially greater than the true prevailing prices. Such a deceptive and unjust
21

22   marketing practice misled consumers by creating a false impression that the Products were of a

23   higher value and worth more than their actual worth.

24          112.    These misrepresentations caused injuries to Plaintiffs and Class and Subclass
25   Members because they would not have purchased the Products if the true facts regarding the value
26
     of the Products were known.
27

28


     CLASS ACTION COMPLAINT                                                                                 26
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 31 of 36




 1          113.     Because Defendant’s retention of the non-gratuitous benefit conferred on it by
 2   Plaintiffs and Class and Subclass Members is unjust and inequitable, Defendant must pay
 3
     restitution to Plaintiffs and the Class and Subclass Members for its unjust enrichment, as ordered
 4
     by the Court.
 5
                                            PRAYER FOR RELIEF
 6

 7          WHEREFORE, Plaintiffs, individually and on behalf of the members of the Class and

 8   Subclass, prays for judgment as follows:

 9          (a)      Declaring this action to be a proper class action and certifying Plaintiffs as the
10
                     representative of the Class and California Subclass, and Plaintiffs’ attorneys as
11
                     Class Counsel to represent the Class and California Subclass Members;
12
            (b)      An order declaring Defendant’s conduct violates the statutes referenced herein;
13
            (c)      Entering preliminary and permanent injunctive relief against Defendant, directing
14

15                   Defendant to correct its sales practices and to comply with consumer protection

16                   statutes nationwide;
17          (d)      Awarding monetary damages, including treble damages;
18
            (e)      Awarding punitive damages;
19
            (f)      Awarding Plaintiffs and Class and Subclass Members their costs and expenses
20
                     incurred in this action, including reasonable allowance of fees for Plaintiffs’
21

22                   attorneys and experts, and reimbursement of Plaintiffs’ expenses; and

23          (g)      Granting such other and further relief as the Court may deem just and proper.

24                                              JURY DEMAND
25          Plaintiffs hereby demand a trial by jury on all claims so triable.
26

27

28


     CLASS ACTION COMPLAINT                                                                               27
       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 32 of 36




 1   Dated: January 10, 2023      BURSOR & FISHER, P.A.
 2                                By:      /s/ Neal J. Deckant
 3                                             Neal J. Deckant

 4                                Neal J. Deckant (State Bar No. 322946)
                                  1990 North California Blvd., Suite 940
 5                                Walnut Creek, CA 94596
                                  Telephone: (925) 300-4455
 6                                Facsimile: (925) 407-2700
                                  E-mail: ndeckant@bursor.com
 7
                                  BURSOR & FISHER, P.A.
 8                                Matthew A. Girardi (pro hac vice forthcoming)
                                  Julian C. Diamond (pro hac vice forthcoming)
 9                                888 Seventh Ave.
                                  New York, NY 10019
10                                Telephone: (646) 837-7142
                                  Facsimile: (212) 989-9163
11                                Email: mgirardi@bursor.com
                                          jdiamond@bursor.com
12
                                  Attorneys for Plaintiffs
13

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     CLASS ACTION COMPLAINT                                                       28
                 Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 33 of 36
                                                                                                      ATTACHMENT CV-5012
CIVIL LAWSUIT NOTICE
Superior Court of California, County of Santa Clara                      CASE NUMBER:      23CV409957
191 North First St., San José, CA 95113

                                    PLEASE READ THIS ENTIRE FORM
PLAINTIFF (the person suing): Within 60 days after filing the lawsuit, you must serve each Defendant with the Complaint,
Summons, an Alternative Dispute Resolution (ADR) Information Sheet, and a copy of this Civil Lawsuit Notice, and you must file
written proof of such service.

   DEFENDANT (The person sued): You must do each of the following to protect your rights:
   1. You must file a written response to the Complaint, using the proper legal form or format, in the Clerk’s Office of the
      Court, within 30 days of the date you were served with the Summons and Complaint;
   2. You must serve by mail a copy of your written response on the Plaintiff’s attorney or on the Plaintiff if Plaintiff has no
      attorney (to “serve by mail” means to have an adult other than yourself mail a copy); and
   3. You must attend the first Case Management Conference.
        Warning: If you, as the Defendant, do not follow these instructions, you may automatically lose this case.



RULES AND FORMS: You must follow the California Rules of Court and the Superior Court of California, County of
<_CountyName_> Local Civil Rules and use proper forms. You can obtain legal information, view the rules and receive forms, free
of charge, from the Self-Help Center at 201 North First Street, San José (408-882-2900 x-2926).
        State Rules and Judicial Council Forms: www.courtinfo.ca.gov/forms and www.courtinfo.ca.gov/rules
        Local Rules and Forms: http://www.sccsuperiorcourt.org/civil/rule1toc.htm
CASE MANAGEMENT CONFERENCE (CMC): You must meet with the other parties and discuss the case, in person or by
telephone at least 30 calendar days before the CMC. You must also fill out, file and serve a Case Management Statement
(Judicial Council form CM-110) at least 15 calendar days before the CMC.
          You or your attorney must appear at the CMC. You may ask to appear by telephone – see Local Civil Rule 8.

                                          Hon. Sunil R. Kulkarni                                          1
    Your Case Management Judge is:                                                        Department:

    The 1st CMC is scheduled for: (Completed by Clerk of Court)
                                        05/18/23                     2:30 pm                               1
                                Date:                      Time:                         in Department:
    The next CMC is scheduled for: (Completed by party if the 1st CMC was continued or has passed)
                                Date:                       Time:                        in Department:


ALTERNATIVE DISPUTE RESOLUTION (ADR): If all parties have appeared and filed a completed ADR Stipulation Form (local
form CV-5008) at least 15 days before the CMC, the Court will cancel the CMC and mail notice of an ADR Status Conference.
Visit the Court’s website at www.sccsuperiorcourt.org/civil/ADR/ or call the ADR Administrator (408-882-2100 x-2530) for a list of
ADR providers and their qualifications, services, and fees.

WARNING: Sanctions may be imposed if you do not follow the California Rules of Court or the Local Rules of Court.




CV-5012 REV 08/01/16                                CIVIL LAWSUIT NOTICE                                                    Page 1 of 1
                       Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 34 of 36

                                 SUPERIOR COURT OF CALIFORNIA, COUNTY 0F SANTA CLARA
                                                                  191 N. FIRST STREET
                                                           SAN JOSE, CA 95113-1 090           Electronically Filed
                                                                                              by Superior Court of CA,
                                                                                              County of Santa Clara,
TO:       FILE    COPY                                                                        on 1/18/2023 9:59 AM
                                                                                              Reviewed By: R. Walker
RE:                              Calderon. et         al. v. J.   Crew Group. LLC             Case #23CV409957
                                                                                    (Class Action)
CASE NUMBER:                     23CV409957                                                   Envelope: 10953497



                                     ORDER DEEMING CASE COMPLEX AND STAYING DISCOVERY
                                                   AND RESPONSIVE PLEADING DEADLINE



      WHEREAS, the Complaint was filed by Plaintiffs Dani Calderon (“Plaintiff”), et al. in the Superior
Court of California, County of Santa Clara, on January 10, 2023 and assigned to Department 1
(Complex Civil Litigation), the Honorable SunilR.Kulkarni presiding, pending a ruling on the
complexity issue;

          IT IS   HEREBY ORDERED              that:
       The Court determines that the above—referenced case is COMPLEX within the meaning of
California Rules of Court 3.400.    The matter remains assigned, for all purposes, including discovery
and trial, to Department 1 (Complex Civil Litigation), the Honorable Sunil R. Kulkarni presiding.
       The parties are directed to the Court’s local rules and guidelines regarding electronic filing
and to the Complex Civil Guidelines, which are available on the Court’s website.
       Pursuant to California Rules of Court, Rule 3.254, the creation and maintenance of the Master
Service List shall be under the auspices of (1) Plaintiff Dani Calderon, as the first—named party in the
Complaint, and (2) the first-named party in each Cross-Complaint, if any.
       Pursuant to Government Code section 70616(b), each party’s complex case fee is due within
ten (10) calendar days of this date.
       Plaintiff shall serve a copy of this Order on all parties forthwith and file a proof of service within
seven (7) days of service.
       Any party objecting to the complex designation must file an objection and proof of service
within ten (10) days of service of this Order. Any response to the objection must be ﬁled within
seven (7) days of service of the objection. The Court will make its ruling on the submitted pleadings.
       The Case Management Conference remains set for Mav 18. 2023 at 2:30 Io.m. in Department
1.

          Counsel        for   all   parties are    ordered to meet and confer          in    person at least 15 days    prior to   the
First   Case Management Conference and                            discuss the following issues:
          1.      Issues related to recusal or disqualiﬁcation;
          2.      Issues of    law    that,  considered by the Court,
                                              if                                 may simplify or further resolution      of the case,
                  including issues       regarding choice of law;
          3.      Appropriate alternative dispute resolution (ADR),                     for    example, mediation, mandatory
                  settlement conference, arbitration, mini-trial;
          4.      A   plan for preservation of evidence                and a uniform system       for identiﬁcation of   documents
                  throughout the course of this               litigation;
          5.      A   plan for   document     disclosure/production and additional discovery; which                  will   generally
                  be conducted          under court supervision and by court order;


Updated on        3/11/21.
                   Case 5:23-cv-01695-VKD Document 1-1 Filed 04/07/23 Page 35 of 36

        6.     Whether it is advisable to address discovery in phases so that information needed to
               conduct meaningful ADR is obtained early in the case (counsel should consider whether
               they will stipulated to limited merits discovery in advance of certiﬁcation proceedings),

               allowing the option to complete discovery if ADR efforts are unsuccessful;
        7.     Any issues involving the protection of evidence and confidentiality;
        8.     The handling of any potential publicity issues;

      Counsel for Plaintiff is to take the lead in preparing a Joint Case Management Conference
Statement to be ﬁled 5 calendar days prior to the First Case Management Conference, and include
the following:

        1.     a brief objective summary of the case;
               a summary of any orders from prior case management conferences and the progress of
               the parties’ compliance with said orders;
        3.     signiﬁcant procedural and practical problems that may likely be encountered;
        4.     suggestions for efficient management, including a proposed timeline of key events; and
        5.     any other special consideration to assist the court in determining an effective case
               management         plan.


       To the extent the parties are unable to agree on the matters to be addressed in the Joint
Case Management Conference Statement, the positions of each party or of various parties should
be set forth separately and attached to this report as addenda. The parties are encouraged to
propose, either jointly or separately, any approaches to case management they believe will
promote the fair and efﬁcient handling of this case. The Court is particularly interested in identifying
potentially dispositive or significant threshold issues the early resolution of which may assist in moving
the case toward effective ADR and/or a final disposition.

        STAY     ON DISCOVERY AND     RESPONSIVE PLEADING DEADLINE Pending further order of this
Court, the service of discovery and the obligation to respond to any outstanding discovery is
stayed. However, Defendant(s) shall file a Notice of Appearance for purposes of identiﬁcation of
counsel and preparation of a service list. The filing of such a Notice of Appearance shall be without
prejudice to the later filing of a motion to quash to contest jurisdiction. Parties shall not ﬁle or serve
responsive pleadings, including answers to the complaint, motions to strike, demurrers, motions for
change of venue and cross-complaints until a date is set at the First Case Management
Conference       for   such   ﬁlings   and   hearings.


        This Order is issued to assist the Court and the parties in the management of this “Complex”
case through the development of an orderly schedule for briefing and hearings. This Order shall not
preclude the parties from continuing to informally exchange documents that may assist in their
initial evaluation of the issues presented in this Case.



        Plaintiff shall   serve a      copy of this Order on   all   the parties   in this   matter forthwith.

        SO ORDERED.
         January 17, 2023
Date:
                                                                                         Hon. Sunil R. Kulkarni
                                                                                         Judge of the Superior Court

If you, a party represented by you, or a witness to be called on behalf of that party need an accommodation under the

American with Disabilities Act, please contact the Court Administrator’s ofﬁce at (408) 882-2700, or use the Court’s TDD line,
(408) 882-2690 or the Voice/TDD California Relay Service, (800) 735-2922.
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                                                                                                                            2
Updated on     3/11/21.
                                                                                                23CV409957
                         Case 5:23-cv-01695-VKD Document     1-1 Filed 04/07/23 Page 36 of 36
                                                  Santa Clara —                                             Civil


                                                                                                                                                                                    R. Fleming
                                                                                                                                                                              POS-01 5
ATTORNEY OR PARTY WITHOUT ATTORNEY:                                        STATE BAR NO:                                                           _                 Ly
we: Neal J. Deckant (CA 322946)                                                                                                     E'eCtmn'aﬁVﬁEYféa’
mm WE: Bursar s. Fisher, PA.                                                                                                        by Superior Court of CA,
STREETADDRESS: 1990 N. California Blvd.. Ste.                            940                                                        County of Santa Clara,
CITY:Walnut Creek                                                               STATE:     CA      ZIP   CODE:   94596                                       .


TELEPHONE No.2 925.300.4455                                                    FAX No.2 925.407.2700                                an 3-“ OlzdoZBs .6R04FIPM
EMAIL ADDRESS:          ndeckant@bursor.oom
                                                                                                                                     ev'ewe       y'       emmg  '
                                                                                                                                                                          '




ATTORNEY FOR
          (Name): Plaintiffs Dani Calderon and Evguenia Babaeva                                                                     case  #23CV409957
sUPERIOR COURT 0F CAUFORNIA. couu'rv 0F Santa Clara                                                                                 Envelope:          1   141 1224
 STREETADDRESS:               191 North First Street
 MAILING ADDRESS:
cm/ AND zIP cone:                  San Jose,     CA 951 13
     BRANCH NAME:             Old Courthouse

          PIaintiff/Petitioner:             Calderon, et       al.

Defendant/Respondent:                       J.   Crew Group. LLC

                                                                                                                                    CASE NUMBER:
                  NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CWIL                                                                         23CV409957


TO   (insert    name          ofparty being served):               J.   Crew Group, LLC

                                                                                                 NOTICE
     The summons and other documents                                   sewed pursuant to section 415.30 of the California Code of Civil
                                                                  identiﬁed below are being
     Procedure. Your failure to complete     form and return it within 20 days from the date of mailing shown below may subject you
                                                                  this

     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behatf of a corporation, an unincorporated association (including a partnership), or other entity, this

     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of                    receipt below.



Date of mailing:                  February 24, 2023



                                             Neal
                                             (TYPE
                                                      J.   Deckant
                                                     OR PRINT NAME)
                                                                                                                 ’       W (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to                      be completed by sender before mulling):

1.

2.
     m
     E         A copy of the summons and of the complaint.
               Other         (specify):




                Civil   Lawsuit Notice




(To be completed by recipient):

Date    this   form     is    signed:      March     9,    2023

Maegan         B. Brooks. attorney for J.                  Crew Group. LLC                                       ’     /s/ Meagan B. Brooks
                  (TYPE      0R PRINT YOUR NAME AND NAAE OF ENTITY.            IF   ANY.                                (SIGNATURE OF PERSON ACKNWLEDGING RECEIPT, WITH TITLE IF
                              ON WHOSE BEHALF THIS FORM IS SIGNED)                                                   ACKNOWLEDGMENT Is MADE 0N BEHALF OF ANOTHE PESON 0R ENTITY)




                                                                                                                                                                               no.1 on

jwwm‘é‘dm'gm U”                                           NOTICE AND ACKNOWLEDGMENT OF RECEIPT                                       — CML                           mgwggo’fﬂ'ﬁi
Pos-O15   (Rev. January      1.   2005]                                                                                                                               www.couMnib.cu.gov
